Case 1:15-cr-10l46-N|\/|G Document 529 Filed 11/02/18 Page 1 of 3
Case 1:15-cr-10146-NMG Document 512-l Filed 07/20/18 Page l of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

v. Cl‘iminal No. 15-10146-NMG

(1) WILLIE BERRY,
a/k/a “Sco” and “Scoudough”
Defendant.

\_/V`_/VVV\_/

FINAL ORDER OF FORFEITURE
GORTON, D.J.

WHEREAS, on June 16, 2016, a federal grandjury sitting in the District of
Massachusetts returned a one-count lndictment charging defendant Willie Berry, a/k/a “Sco”,
and “Scodough” (the “Defendant”) with Conspiracy to Distribute Cocaine Base, Cocaine,
Heroin, and Oxycodone, in violation 0f21 U.S.C. § 846 (Count One);

WI-IEREAS, on February l, 2017, at a hearing pursuant to Rule l l of the Federal Rules
of Criminal Procedure, the Defendant pled guilty to Count One of the Indictment, pursuant to a
written plea agreement that he signed on the same day;

WHEREAS, in Section 7 of the plea agreement, the Defendant admitted that the
following assets are subject to forfeiture because constitute, or are derived from, proceeds
obtained directly or indirectly as a result of the Defendant’s offenses; and are any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of the
Defendant’s offenses, and such assets specifically included, without limitation:

(a) one T-Mobile white Samsung Galaxy cell phone, seized from Willie Berry
at 76 Raclcliffe Street, Apt. 3, Dorchester, Massachusetts (the “Phone”);

Case 1:15-cr-10l46-NI\/|G Document 529 Filed 11/02/18 Page 2 of 3
Case 1:15-cr-10146-NMG Document 512-l Filed 07/20/18 Page 2 of 3

WHEREAS, on April 26, 2017, this Court issued a Preliminary Order of Forfeiture
against the Phone, pursuant to 21 U.S.C. § 853, and Rule 32.2(b)(2) ofthe Federal Rules of
Criminal Procedure;

Wl-[EREAS, in addition, this Court ordered the Defendant to forfeit the Phone, pursuant
to the terms of the Preliminary Order of Forfeiture;

WHEREAS, notice of the Preliminary Order of Forfeiture was sent to all interested
parties and published on the government website www.forfeiture.gov for thirty (30) consecutive
calendar days, beginning on July 27, 2017 and ending on August 25, 2017;

WHEREAS, on April 26, 2017, a sentencing hearing was held whereby this Court
sentenced the Defendant to a term of 132 months incarceration, 5 years supervised release, and
$100 special assessment;

WHEREAS, no claims of interest in the Phone have been filed with the Court or served
on the United States Attorney’s Office, and the time within which to do so has expired.

ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

l. The United States’ Motion for a Final Order of Forfeiture is allowed.

2. The United States of America is now entitled to the forfeiture ofall right, title or
interest in the Phone, and are hereby forfeited to the United States of America pursuant to 21
U.S.C. § 853, and Rule 32.2(c) ofthe Federal Rules of Criminal Procedure.

3. All other parties having any right, title or interest in the Phone are hereby held in
default.

4. The United States Marshals Service is hereby authorized to dispose of the Phone

in accordance with applicable law.

Case 1:15-cr-10l46-N|\/|G Document 529 Filed 11/02/18 Page 3 of 3
Case l:lB-cr-lOl46-NMG Document 512-l Filed 07/20/18 Page 3 of 3

5. T|iis Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.

Wa%a..@r? {/?Z;.

NATHANlEL M. Gol§ToN
United States District .ludge

Dated: l l» l 8

LJJ

